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NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number       1:21-mj-240

EMMA CORONEL AISPURO
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER



                                                                (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          David Benowitz DC Bar # 451557
                                                        (Attorney & Bar ID Number)
                                          Price Benowitz LLP
                                                               (Firm Name)

                                          409 Seventh St NW, Suite 200
                                                             (Street Address)

                                          Washington, DC                        20004
                                           (City)               (State)          (Zip)

                                          (202) 417-6000
                                                           (Telephone Number)
